944 F.2d 898
    Schillachi (Emil, Jr.)v.Flying Dutchman Motorcycle Club, Zechman (Luke), Honda MotorCompany Limited of Japan, Honda Research &amp; DevelopmentLimited of Japan, American Honda Motor Co., Inc., AmericanMotorcyclist Association, Schuylkill County AmbulanceService, Schuylkill Haven Lions Ambulance Service 'ABC Co.',Doe (John)
    NO. 91-1224
    United States Court of Appeals,Third Circuit.
    AUG 26, 1991
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    